                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                         )
                                                  )   Case No: 1:11-CR-1
        v.                                        )
                                                  )
 JUAN ANTONIO HERNANDEZ                           )   Chief Judge Curtis L. Collier
                                                  )


                                        MEMORANDUM

        Before the Court is Defendant Juan Antonio Hernandez’s (“Defendant”) motion to reopen

 sentencing or alter or amend the judgment (Court File No. 161). The Government did not file a

 response to Defendant’s motion. Defendant subsequently filed a motion to extend time for self-

 reporting to the Bureau of Prisons (Court File No. 162). After carefully considering Defendant’s

 arguments and the controlling law, the Court will DENY Defendant’s motion to reopen sentencing

 or alter or amend the judgment (Court File No. 161) and DENY Defendant’s motion to extend time

 for self-reporting to the Bureau of Prisons (Court File No. 162).



 I.     MODIFICATION OF SENTENCE

        Defendant was sentenced on September 22, 2011, for conspiring to produce false documents

 in violation of 18 U.S.C. § 1028(f). Defendant was sentenced to a term of imprisonment of twelve

 months. He is currently on bond and is scheduled to self-report on October 24, 2011, at 2:00 p.m.

 On October 4, 2011, Defendant filed a motion to reopen his sentence, or in the alternative, alter or

 amend his judgment (Court File No. 161). Defendant seeks a modification of his sentence that

 would enable him to serve his time through probation or some other alternative sentencing

 arrangement in light of his family’s needs. Specifically, Defendant avers his wife suffers from



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 several serious medical conditions and no one else in the Chattanooga area is available to assist her.

        A sentencing court generally cannot modify a sentence of imprisonment except under limited

 circumstances. 18 U.S.C. § 3582(c). Defendant’s request for a modified sentence is controlled by

 18 U.S.C. § 3582(c)(1)(B), which provides the sentencing court may only “modify an imposed term

 of imprisonment to the extent otherwise expressly permitted by statute or by Rule 35 of the Federal

 Rules of Criminal Procedure.” Rule 35 of the Federal Rules of Criminal Procedure (“Rule 35”)

 allows a sentencing court to (1) correct Defendant’s sentence within fourteen days after sentencing

 with regard to “an arithmetical, technical, or other clear error,” or (2) reduce Defendant’s sentence

 within one year of sentencing upon the government’s motion that Defendant has provided substantial

 assistance post-sentencing. Fed. R. Crim. P. 35. However, as explained in the Rule 35 advisory

 committee notes:

        [Rule 35] is not intended to afford the court the opportunity to reconsider the
        application or interpretation of the sentencing guidelines or . . . simply to change its
        mind about the appropriateness of the sentence . . . [or] to reopen issues previously
        resolved at the sentencing hearing through the exercise of the court’s discretion with
        regard to the application of the sentencing guidelines.

 Id.; United States v. Houston, 529 F.3d 743, 749 (6th Cir. 2008) (internal quotation marks omitted).

 Especially with regard to Rule 35(a), unless the error is “an obvious error or mistake,” it is outside

 the narrow scope of this rule. United States v. Arroyo, 434 F.3d 835, 838 (6th Cir. 2006).

        This Court has no authority to reopen Defendant’s sentence, or in the alternative, alter or

 amend Defendant’s judgment. First, no statute explicitly permits this Court to modify Defendant’s

 statute. Moreover, Rule 35 is not applicable to the matter at hand. As a preliminary matter, this court

 lacks jurisdiction under Rule 35(a) to make any modifications because the fourteen-day window in

 which the court had such discretion has passed. However, even if the Court had acted within this


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 time period, it would still lack the authority to modify Defendant’s sentence under Rule 35(a).

 Defendant has not asserted the Court committed “arithmetical, technical, or clear error.” Instead,

 Defendant argues he needs a modified sentence because his imprisonment would place a hardship

 on his wife, who suffers from several serious medical conditions, and his fourteen-year-old daughter.

 In particular, he requests probation or some other alternative sentencing in lieu of his term of

 imprisonment. Defendant’s counsel also raised this issue at sentencing, and the Court considered

 this information, along with the advisory guidelines range and the other factors of 18 U.S.C. §

 3553(a), in deciding to impose a term of imprisonment of twelve months. The Court does not now

 have the authority to modify an otherwise appropriate sentence under Rule 35(a), nor does the Court

 believe Defendant’s sentence warrants modification. Finally, Rule 35(b) is not applicable because

 the government has not filed a motion post-sentencing regarding the substantial assistance of

 Defendant.1 Hence, because the Court lacks the authority to modify Defendant’s sentence, the Court

 DENIES Defendant’s motion to reopen sentencing or alter or amend the judgment (Court File No.

 161).



 II.     EXTENSION OF TIME FOR SELF-REPORTING

         Defendant also seeks an extension of time to self-report to the Bureau of Prisons. Defendant

 requests that his time be delayed until the Court has ruled on his motion to reopen sentencing or alter

 or amend the judgment. Because the Court has now ruled on that motion, the Court DENIES as



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           The Court can find no reason that Rule 35(b) would be applicable here. The only motion
 filed by the Government for substantial sentence was filed prior to sentencing pursuant to U.S.S.G.
 § 5K1.1. At sentencing, the Court granted the Government’s motion and Defendant received a two-
 level downward departure for his substantial assistance.

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 MOOT Defendant’s motion for an extension of time to self report. Defendant must surrender for

 service of his sentence by 2:00 p.m. on October 24, 2011.



 III.   CONCLUSION

 Accordingly, the Court DENIES Defendant’s motion to reopen sentencing or alter or amend the

 judgment (Court File No. 161), and DENIES Defendant’s motion to extend time for self reporting

 to the Bureau of Prisons (Court File No. 162).

        An Order shall enter.



                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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